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10   Attorneys for Defendants
     Irico GROUP CORP. and
11   Irico DISPLAY DEVICES CO., LTD.

12
                                UNITED STATES DISTRICT COURT
13
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
14
                                     SAN FRANCISCO DIVISION
15

16   IN RE: CATHODE RAY TUBE (CRT)                    )   Case No. 3:07-cv-05944-JST
     ANTITRUST LITIGATION,                            )
17                                                    )   MDL No.: 1917
                                                      )
18   THIS DOCUMENT RELATES TO:                        )   AMENDED DECLARATION OF
                                                      )   STUART PLUNKETT IN SUPPORT OF
19   ALL INDIRECT PURCHASER ACTIONS                   )   IRICO DEFENDANTS’ MOTIONS TO
     ALL DIRECT PURCHASER ACTIONS                     )   DISMISS CLAIMS OF INDIRECT
20                                                    )   PURCHASER PLAINTIFFS AND
                                                      )   DIRECT PURCHASER PLAINTIFFS
21                                                    )   FOR LACK OF SUBJECT MATTER
                                                      )   JURISDICTION (ECF Nos. 5409, 5410,
22                                                    )   5411, 5412)
                                                      )
23                                                    )   Date:        May 30, 2019
                                                      )   Time:        2:00pm
24                                                    )   Judge:       Hon. Jon S. Tigar
                                                          Courtroom:   9
25

26

27

28
     AMENDED DECL. OF PLUNKETT ISO IRICO’S MOTS. TO                        CASE NO. 3:07-CV-05944-JST
     DISMISS FOR LACK OF JURISDICTION                                                   MDL NO. 1917
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1           I, Stuart Plunkett, declare as follows:
2           1.      I am an attorney admitted to practice law in this Court and in the State of
3    California, and am a partner with the law firm of Baker Botts L.L.P., which represents
4    Defendants Irico Group Corporation (“Irico Group”) and Irico Display Devices Co., Ltd. (“Irico
5    Display”) (collectively, “Irico Defendants”). I make this Declaration based on my personal
6    knowledge and in support of the Irico Defendants’ Amended Motions to Dismiss for Lack of
7    Subject Matter Jurisdiction.
8           2.      Attached hereto as Exhibit 1 is a true and correct copy of a Notice of Opinion on
9    the Handling of Several Issues in the Specific Application of Law to Job-Related Criminal Cases
10   issued by the Supreme People’s Court and the Supreme People’s Procuratorate of the People’s
11   Republic of China, dated November 26, 2010 and Bates stamped IRI-CRT-00000014 through
12   -019, and a translation thereof.
13          3.      Attached hereto as Exhibit 2 is a true and correct copy of Irico Display’s 2007
14   Annual Report, Bates stamped IRI-CRT-00000232 through -321, and a translation thereof.
15          4.      Attached hereto as Exhibit 3 is a true and correct copy of Regulations for the
16   Implementation of the Audit Law of the People’s Republic of China, issued by decree No. 231 by
17   the State Council of the People’s Republic of China, promulgated on October 21, 1997 and Bates
18   stamped IRI-CRT-00000489 through -502, and a translation thereof.
19          5.      Attached hereto as Exhibit 4 is a true and correct copy of a Registration Form for
20   Change of Ownership of State-owned Assets issued by the Ministry of Findings of the People’s
21   Republic of China, dated December 25, 2000 and Bates stamped IRI-CRT-00000512 through
22   -516, and a translation thereof.
23          6.      Attached hereto as Exhibit 5 is a true and correct copy of a Reply Regarding
24   Consent to Formation of Irico Group Company issued by the Ministry of Machinery and
25   Electronics Industry of the People’s Republic of China, marked No. 98, dated March 2, 1989 and
26   Bates stamped IRI-CRT-00000527, and a translation thereof.
27          7.      Attached hereto as Exhibit 6 is a true and correct copy of a Request for
28   Instructions Regarding Formation of Irico Group Company issued by the 4400 CRT Plant,
     AMENDED DECL. OF PLUNKETT ISO IRICO’S MOTS. TO                          CASE NO. 3:07-CV-05944-JST
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1    marked No. 274, dated October 18, 1988 and Bates stamped IRI-CRT-00000530 through 532,

2    and a translation thereof.

3            8.      Attached hereto as Exhibit 7 is a true and correct copy of a Criminal Judgment

4    issued by the Qindu District People’s Court, marked No. 00346, dated February 28, 2014 and

5    Bates stamped IRI-CRT-0000534 through 536, and a translation thereof.

6            9.      Attached hereto as Exhibit 8 is a true and correct copy of a Criminal Judgment

7    issued by the Xianyang Municipal Intermediate People’s Court of Shaanxi Province, marked No.

8    00054, dated May 6, 2014 and Bates stamped IRI-CRT-0000537 through 539, and a translation

9    thereof.

10           10.     Attached hereto as Exhibit 9 is a true and correct copy of a Criminal Judgment

11   issued by the Qindu District People’s Court, marked No. 00345, dated April 17, 2014 and Bates

12   stamped IRI-CRT-0000540 through 555, and a translation thereof.

13           11.     Attached hereto as Exhibit 10 is a true and correct copy of a Criminal Judgment

14   issued by the Xianyang Municipal Intermediate People’s Court of Shaanxi Province, marked No.

15   00075, dated November 11, 2015 and Bates stamped IRI-CRT-0000556 through 570, and a

16   translation thereof.

17           12.     Attached hereto as Exhibit 11 is a true and correct copy of a Letter Regarding the

18   Opinion on the Finding of a State-Owned Company and Enterprise issued by State Bureau of

19   Statistics, marked No. 00044, dated 2003 and Bates stamped IRI-CRT-0000571 through 572, and

20   a translation thereof.

21           13.     Attached hereto as Exhibit 12 is a true and correct copy of a document regarding

22   the Dispatching by the State Council of a Board of Supervisors of a Key Large State-owned

23   Enterprise issued by State-owned Enterprise Supervisory Board Working Office, marked No.

24   00036, dated February 14, 2001 and Bates stamped IRI-CRT-0000581 through 582, and a

25   translation thereof.

26           14.     Attached hereto as Exhibit 13 is a true and correct copy of a Notice of Adjustment

27   of Members of the Board of Supervisors issued by State-owned Enterprise Supervisory Board

28
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1    Working Office, marked No. 00154, dated May 30, 2001 and Bates stamped IRI-CRT-0000583,

2    and a translation thereof.

3           15.     Attached hereto as Exhibit 14 is a true and correct copy of a Reply Regarding the

4    Initiation of Asset Appraisal for Floatation of Shares of Irico Display Devices Company Limited

5    issued by National Administration of State-Owned Assets, marked No. 00334, dated June 12,

6    1995 and Bates stamped IRI-CRT-0000584 through 585, and a translation thereof.

7           16.     Attached hereto as Exhibit 15 is a true and correct copy of a Reply on the Results

8    of the Settlement of Performance-Linked Pay of Central Enterprise in 2005 issued by

9    State-owned Assets Supervision and Administration Commission of the State Council, marked

10   No. 01160, dated October 10, 2006 and Bates stamped IRI-CRT-0000586 through 587, and a

11   translation thereof.

12          17.     Attached hereto as Exhibit 16 is a true and correct copy of a Notice on Handing in

13   State-Owned Capital Gains of Central Enterprises in 2006 issued by State-owned Assets

14   Supervision and Administration Commission of the State Council, marked No. 01589, dated

15   January 7, 2008 and Bates stamped IRI-CRT-0000588, and a translation thereof.

16          18.     Attached hereto as Exhibit 17 is a true and correct copy of a Notice on Doing a

17   Good Job in Declaration of the 2004 Performance Salary Cashing Scheme and the 2005 Base

18   Salary Scheme for Responsible Persons of Central Enterprises issued by State-owned Assets

19   Supervision and Administration Commission of the State Council, marked No. 00078, dated

20   September 13, 2005 and Bates stamped IRI-CRT-0000589 through 592, and a translation

21   thereof.

22          19.     Attached hereto as Exhibit 18 is a true and correct copy of a Notice on the

23   Adjustment for Members of the Board of Supervisors of Key Large State-owned Enterprises

24   issued by State-owned Assets Supervision and Administration Commission of the State Council,

25   marked No. 00189, dated September 18, 2005 and Bates stamped IRI-CRT-0000593, and a

26   translation thereof.

27          20.     Attached hereto as Exhibit 19 is a true and correct copy of a Letter on

28   Confirmation of the Results of Preservation and Appreciation of State-owned Capital of Irico
     AMENDED DECL. OF PLUNKETT ISO IRICO’S MOTS. TO                          CASE NO. 3:07-CV-05944-JST
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1    Group Corporation in 2002 issued by Statistical Evaluation Bureau of the State-owned Assets

2    Supervision and Administration Commission of the State Council, marked No. 00181, dated July

3    18, 2003 and Bates stamped IRI-CRT-0000594 through 596, and a translation thereof.

4           21.     Attached hereto as Exhibit 20 is a true and correct copy of an Approval of Issues

5    Concerning Equity Division Reform of Irico Display Devices Company Limited issued by

6    State-owned Assets Supervision and Administration Commission of the State Council, marked

7    No. 00809, dated July 14, 2006 and Bates stamped IRI-CRT-0000597 through 600, and a

8    translation thereof.

9           22.     Attached hereto as Exhibit 21 is a true and correct copy of a Reply Concerning the

10   2003 Final Accounts of Irico Group Corporation issued by State-owned Assets Supervision and

11   Administration Commission of the State Council, marked No. 00620, dated August 3, 2004 and

12   Bates stamped IRI-CRT-0000602 through 605, and a translation thereof.

13          23.     Attached hereto as Exhibit 22 is a true and correct copy of a Reply Concerning the

14   2004 Final Accounts of Irico Group Corporation issued by State-owned Assets Supervision and

15   Administration Commission of the State Council, marked No. 00836, dated July 30, 2005 and

16   Bates stamped IRI-CRT-0000606 through 609, and a translation thereof.

17          24.     Attached hereto as Exhibit 23 is a true and correct copy of a Reply Concerning the

18   2005 Final Accounts of Irico Group Corporation issued by State-owned Assets Supervision and

19   Administration Commission of the State Council, marked No. 00751, dated July 18, 2006 and

20   Bates stamped IRI-CRT-0000613 through 617, and a translation thereof.

21          25.     Attached hereto as Exhibit 24 is a true and correct copy of a Regarding the

22   Response to the 2006 Financial Statements of Irico Group Corporation issued by State-owned

23   Assets Supervision and Administration Commission of the State Council, marked No. 00799,

24   dated August 21, 2007 and Bates stamped IRI-CRT-0000618 through 623, and a translation

25   thereof.

26          26.     Attached hereto as Exhibit 25 is a true and correct copy of an Official Response to

27   the Overall Plan of Irico Group Corporation for Separation, Reorganization and Division of Main

28   and Auxiliary Industries and the Placement of Surplus Personnel issued by State-owned Assets
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1    Supervision and Administration Commission of the State Council, marked No. 00561, dated

2    June 30, 2004 and Bates stamped IRI-CRT-0000624 through 627, and a translation thereof.

3           27.     Attached hereto as Exhibit 26 is a true and correct copy of a Notice on the

4    Assessment Results of the 2004 Operational Performance of Persons in Charge of Irico Group

5    Corporation issued by State-owned Assets Supervision and Administration Commission of the

6    State Council, marked No. 01187, dated September 16, 2005 and Bates stamped

7    IRI-CRT-0000628 through 629, and a translation thereof.

8           28.     Attached hereto as Exhibit 27 is a true and correct copy of a Response Letter to

9    the Performance Salary Realization Proposal of 2004 and Base Salary Proposal of 2005 for

10   Persons in Charge of Irico Group Corporation issued by State-owned Assets Supervision and

11   Administration Commission of the State Council, marked No. 00132, dated October 14, 2005

12   and Bates stamped IRI-CRT-0000630 through 631, and a translation thereof.

13          29.     Attached hereto as Exhibit 28 is a true and correct copy of a Notice on the

14   Assessment Results of the 2005 Operational Performance of Persons in Charge of Irico Group

15   Corporation issued by State-owned Assets Supervision and Administration Commission of the

16   State Council, marked No. 01336, dated October 31, 2006 and Bates stamped IRI-CRT-0000632

17   through 633, and a translation thereof.

18          30.     Attached hereto as Exhibit 29 is a true and correct copy of a Notice on the

19   Problems Related to the Confirmation and Standardization of Enterprise Names issued by

20   General Office of the State-owned Assets Supervision and Administration Commission of the

21   State Council (SASAC), marked No. 0026, dated July 9, 2003 and Bates stamped

22   IRI-CRT-0000634 through 643, and a translation thereof.

23          31.     Attached hereto as Exhibit 30 is a true and correct copy of excerpts from

24   Significant Events of Irico issued by Irico Group Corp., and Bates stamped IRI-CRT-0000650

25   through 652, and a translation thereof.

26          32.     Attached hereto as Exhibit 31 is a true and correct copy of a Prospectus for Shares

27   of Irico (600707), Bates stamped IRI-CRT-0000666 through 669, and a translation thereof.

28
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1           33.     Attached hereto as Exhibit 32 is a true and correct copy of a 2007 Enterprise

2    Financial Account Statement issued by State-owned Assets Supervision and Administration

3    Commission of the State Council, dated April 23, 2008 and Bates stamped IRI-CRT-0000670

4    through 671, and a translation thereof.

5           34.     Attached hereto as Exhibit 33 is a true and correct copy of a collection of

6    Directives issued by Irico Group Corporation, marked No. 000191-194, 55, 84, and 27 on

7    multiple dates and Bates stamped IRI-CRT-0000672 through 679, and a translation thereof.

8           35.     Attached hereto as Exhibit 34 is a true and correct copy an excerpt from 2008

9    Irico Group Corporation Audit Report issued by Shinewing Certified Public Accountants, dated

10   2008 and Bates stamped IRI-CRT-0000680 through 682, and a translation thereof.

11          36.     Attached hereto as Exhibit 35 is a true and correct copy of an Approval for

12   TFT-LCD glass substrate project construction investment issued by Irico Group Corporation,

13   marked No. 00020, dated 2007 and Bates stamped IRI-CRT-0000709 through 711, and a

14   translation thereof.

15          37.     Attached hereto as Exhibit 36 is a true and correct copy of a Report on Irico Group

16   Corporation’s Completed Investment in 2006 and its Investment Plan for 2007 issued by Irico

17   Group Corporation, marked No. 00002, dated January 12, 2007 and Bates stamped

18   IRI-CRT-0000712 through 717, and a translation thereof.

19          38.     Attached hereto as Exhibit 37 is a true and correct copy of a Report on Investment

20   of Irico Group Corporation issued by Irico Group Corporation, marked No. 00212, dated October

21   10, 2007 and Bates stamped IRI-CRT-0000730 through 736, and a translation thereof.

22          39.     Attached hereto as Exhibit 38 is a true and correct copy of an Official reply

23   regarding Irico Group Corporation 2009 state-owned capital operating budget issued by

24   State-owned Assets Supervision and Administration Commission of the State Council, marked

25   No. 01322, dated November 30, 2009 and Bates stamped IRI-CRT-0000737 through 738, and a

26   translation thereof.

27          40.     Attached hereto as Exhibit 39 is a true and correct copy of a Notice of the Ministry

28   of Finance on issuing the Irico Group Corporation 2009 central state-owned capital operating
     AMENDED DECL. OF PLUNKETT ISO IRICO’S MOTS. TO                           CASE NO. 3:07-CV-05944-JST
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1    budget (appropriations) issued by State-owned Assets Supervision and Administration

2    Commission of the State Council, marked No. 00302, dated December 4, 2009 and Bates

3    stamped IRI-CRT-0000739 through 740, and a translation thereof.

4           41.     Attached hereto as Exhibit 40 is a true and correct copy of a Letter regarding

5    submission of Irico Display Devices Co., Ltd. stock exchange listing reexamination materials

6    issued by Ministry of Electronics Industry Document, marked No. 00927, dated December 27,

7    1995 and Bates stamped IRI-CRT-0000744 through 751, and a translation thereof.

8           42.     Attached hereto as Exhibit 41 is a true and correct copy of a Criminal Judgment

9    issued by Shaanxi Province Xianyang City Qindu District People's Court, marked No. 00344,

10   dated 2013 and Bates stamped IRI-CRT-0000755 through 763, and a translation thereof.

11          43.     Attached hereto as Exhibit 42 is a true and correct copy of a Criminal Judgment

12   issued by Shaanxi Province Xianyang Intermediate People’s Court, marked No. 00119, dated

13   May 16, 2016 and Bates stamped IRI-CRT-0000764 through 772, and a translation thereof.

14          44.     Attached hereto as Exhibit 43 is a true and correct copy of a Ministry of Finance

15   State-owned Assets Commission Notice concerning the promulgation of the Interim Measures

16   for the Administration of the Collection of Proceeds from State-owned Capital of Central

17   Enterprises issued by the Ministry and Finance and the State-owned Assets Commission, marked

18   No. 00309, dated April 4, 2018 and Bates stamped IRI-CRT-0000786 through 789, and a

19   translation thereof.

20          45.     Attached hereto as Exhibit 44 is a true and correct copy of an Official response

21   concerning the approval to establish Irico Display Devices Co., Ltd. issued by Shaanxi

22   Provincial Commission on the Restructuring of the Economic System, marked No. 00034, dated

23   June 2, 1992 and Bates stamped IRI-CRT-0000853 through 854, and a translation thereof.

24          46.     Attached hereto as Exhibit 45 is a true and correct copy of various personnel

25   notices issued by State Council, Ministries of Personnel and Electronics Industry, and Irico

26   Group, marked Nos. 00014, 145, 70, 194, 84, 55, 145 and Bates stamped IRI-CRT-0000865

27   through 875, and a translation thereof.

28
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1           47.     Attached hereto as Exhibit 46 is a true and correct copy of excerpts from

2    Significant Events of Irico issued by Irico Group Corporation, and Bates stamped

3    IRI-CRT-0000907 through 908, and a translation thereof.

4           48.     Attached hereto as Exhibit 47 is a true and correct copy of a Letter of

5    Responsibilities for Annual Operational Performance of the Responsible Persons of the

6    Enterprise issued by Irico Group Corporation, marked No. 00002, dated January 17, 2011 and

7    Bates stamped IRI-CRT-0000913 through 915, and a translation thereof.

8           49.     Attached hereto as Exhibit 48 is a true and correct copy of a Reply to the Budget

9    for State-owned Capital Operation of Irico Group Corporation in 2009 issued by State-owned

10   Assets Supervision and Administration Commission of the State Council, marked No. 01322,

11   dated December 4, 2009 and Bates stamped IRI-CRT-0000919 through 920, and a translation

12   thereof.

13          50.     Attached hereto as Exhibit 49 is a true and correct copy of a Request for

14   instructions about "Overall Plan for the Separation, Restructuring and Diversion of Primary and

15   Secondary Service of Irico Group Corporation issued by Irico Group Corporation, marked No.

16   00097, dated April 12, 2004 and Bates stamped IRI-CRT-0000956 through 1010, and a

17   translation thereof.

18          51.     Attached hereto as Exhibit 50 is a true and correct copy of a Notice on Expelling

19   Wu Weiren from the Party issued by Enterprise Working Committee for Discipline Inspection

20   under the Central Committee of the Communist Party of China, marked No. 00003, dated March

21   10, 2003 and Bates stamped IRI-CRT-0001012 through 1013, and a translation thereof.

22          52.     Attached hereto as Exhibit 51 is a true and correct copy of Institutions of the State

23   Council; Chinese Government Network, dated July 10, 2018 taken from the website of the State

24   Council of China at http://www.gov.cn/guowuyuan/zuzhi.htm, and a translation thereof.

25          53.     Attached hereto as Exhibit 52 is a true and correct copy of Interim Measures for

26   Assessing the Operating Performance of Persons in Charge of Enterprises Directly Under the

27   Central Government issued by State Council State-owned Asset Supervision and Administration

28
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                                                         8                                  MDL NO. 1917
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1    Commission,      marked    No.   00017,   dated    July   10,   2018   and   from    the   website

2    http://www.gov.cn/flfg/2007-02/01/content_514710.htm, and a translation thereof.

3             54.    Attached hereto as Exhibit 53 is a true and correct copy of China’s Seventh

4    Five-Year Plan published in China Report, Volume 22 Issue 4, November 1986, pages 503

5    through 548.

6             55.    Attached hereto as Exhibit 54 is a true and correct copy of a Transcript Table

7    showing export trade statistics of China National Electronics Import & Export Caihong Co. in

8    2002.

9             56.    Attached hereto as Exhibit 55 is a true and correct copy of Irico Group

10   Corporation’s 2007 Audit Report issued by Tianzhi International Certified Public Accountants

11   Co. LTD., dated 2007, and a translation of excerpts thereof.

12            57.    Attached hereto as Exhibit 56 is a true and correct copy of a Letter of

13   Responsibilities for Annual Operational Performance of the Responsible Persons of the

14   Enterprise issued by Irico Group Corporation, marked No. 00002, dated January 14, 2012 and

15   Bates stamped IRI-CRT-0000916 through 918, and a translation thereof.

16            I declare under penalty of perjury that the foregoing is true and correct. Executed this

17   19th day of March, 2019, in San Francisco, California.

18

19                                                             /s/ Stuart Plunkett
                                                       Stuart C. Plunkett (State Bar No. 187971)
20                                                     stuart.plunkett@bakerbotts.com
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23
                                                       Attorneys for Defendants
24                                                     IRICO GROUP CORP. and
                                                       IRICO DISPLAY DEVICES CO., LTD.
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     AMENDED DECL. OF PLUNKETT ISO IRICO’S MOTS. TO                          CASE NO. 3:07-CV-05944-JST
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